20-05027-rbk Doc#12 Filed 06/11/20 Entered 06/11/20 23:29:51 Imaged Certificate of
                                Notice Pg 1 of 5



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  The relief described hereinbelow is SO ORDERED.
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  
  Signed June 06, 2020.

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                                                                Ronald B. King
                                                    Chief United States Bankruptcy Judge
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                                Notice Pg 2 of 5



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                                         Notice Pg 5 of 5
                                               United States Bankruptcy Court
                                                 Western District of Texas
Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
         Plaintiff                                                                                Adv. Proc. No. 20-05027-rbk
DMA Properties, Inc.,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: carouthc                     Page 1 of 1                          Date Rcvd: Jun 09, 2020
                                      Form ID: pdfintp                   Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 11, 2020.
aty            +Timothy Cleveland,   CLEVELAND TERRAZAS PLLC,   4611 Bee Cave Road,   Suite 306B,
                 Austin, TX 78746-5284

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion07.cc.ecf@usdoj.gov Jun 10 2020 02:09:10     US Trustee,
                 606 N Carancahua,   Corpus Christi, TX 78401-0680
ust             E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Jun 10 2020 02:09:04
                 United States Trustee - SA12,   US Trustee’s Office,   615 E Houston, Suite 533,    PO Box 1539,
                 San Antonio, TX 78295-1539
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 11, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 8, 2020 at the address(es) listed below:
              Austin Hammer Krist   on behalf of Interested Party Frank Daniel Moore
               akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Defendant   DMA Properties, Inc. akrist@clevelandterrazas.com
              Charles John Muller, IV   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row john@muller-smeberg.com,
               mary.ables-miller@chamberlainlaw.com
              Ronald J. Smeberg   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series
               Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
                                                                                            TOTAL: 4
